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Todd M. Friedman (216752)
Law Offices of Todd M. Friedman, P.C.

  

 
  

 

  

 

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Beverly Hills, CA 90211 wy, ore
Phone: 877 206-4741 ~
Fax: 866 633-0228
tfriedman@attorneysforconsumers.com
Attorney for Plaintiff
UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA
ROGER JORDAN, ) CaseNo. 40CV 1765 WOH AJB
)
Plaintiff, ) COMPLAINT FOR VIOLATION........
) OF FEDERAL FAIR DEBT este epee
VS. ) COLLECTION PRACTICES ACT
) AND ROSENTHAL FAIR DEBT
LAW OFFICES OF MITCHELLN. ) COLLECTION PRACTICES ACT
KAY, P.C., )
)
Defendant. )
)

 

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
§1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
Practices Act, Cal Civ Code §1788, et seg. (hereinafter “RFDCPA”), both of
which prohibit debt collectors from engaging in abusive, deceptive, and unfair

practices.

Complaint - 1

 

 

 
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Il. JURISDICTION
2. Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).
I. PARTIES

3. Plaintiff, Roger Jordan (“Plaintiff”), is a natural person residing in
San Diego county in the state of California, and is a “consumer” as defined by the
FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ Code
§1788.2(h).

4, At all relevant times herein, Defendant, Law Offices of Mitchell N.
Kay, P.C.. (“Defendant”) was a company engaged, by use of the mails and
telephone, in the business of collecting a debt from Plaintiff which qualifies as a
“debt,” as defined by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by
Cal Civ Code §1788.2(f). Defendant regularly attempts to collect debts alleged to
be due another, and therefore is a “debt collector” as defined by the FDCPA, 15
U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).

IV. FACTUAL ALLEGATIONS

5. At various and multiple times prior to the filing of the instant
complaint, including within the one year preceding the filing of this complaint,
Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

6. When the first bill was sent to Plaintiff for the alleged debt, Plaintiff

immediately contacted T-Mobile, informing them that this alleged account was

Complaint - 2

 

 

 
 

 

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not Plaintiff's and requested that verification in the form of a signed contract be
sent to Plaintiff.

7. T-Mobile then removed the claim from Plaintiff’s credit report, upon
receiving information that the account did not belong to Plaintiff.

8. On more than one occasion, Plaintiff has requested Defendant to
provide verification of the alleged debt.

9. On or about July 2009, Defendant began and has continued to report
the alleged outstanding debt on Plaintiff’s credit report without providing
verification of the alleged debt.

10. On more than one occasion, Plaintiff had informed Defendant that a
third party, Plaintiff's co-worker in 2008, used his social security information to
open the account from which the debt arises.

11. Plaintiff, for at least the past ten years, has used Sprint as a cell
phone carrier and has had no reason to switch to T-Mobile.

12. Onor about May 20, 2010, T-Mobile sent a letter to Plaintiff
informing Plaintiff that the investigation into his case has found evidence linking
the alleged account to his personal information.

13. Onmore than one occasion, Plaintiff has informed Defendant that

the company, at which Plaintiff was working with the third party who opened the

Complaint - 3

 
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Case SONOS? Document 1 Filed iene’ Page 4 of 9

account under his social security information, had closed down and Plaintiff has
no way of contacting the third party.

14. Defendant continued to report the alleged outstanding debt on
Plaintiff's credit report, despite Plaintiff's disputes and the information he has
provided proving that the account was falsely opened with his information.

15. Defendant’s conduct violated the FDCPA and the RFDCPA in
multiple ways, including but not limited to:

a) Communicating or threatening to communicate credit

information which is known or which should be known to
be false, including a reporting a false T-Mobile account in
his credit report though he has never been a T-Mobile
customer (§ 1692e(8)); and

b) Falsely representing to Plaintiff that services were rendered

or that compensation maybe lawfully received by
Defendant for collection of Plaintiffs debt ($1692e(2)(B)).

16. Asa result of the above violations of the FDCPA and RFDCPA
Plaintiff suffered and continues to suffer injury to Plaintiff's feelings, personal
humiliation, embarrassment, mental anguish and emotional distress, and

Defendant is liable to Plaintiff for Plaintiff's actual damages, statutory damages,

and costs and attorney’s fees.

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Complaint - 4

 

 

 
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Case SOON? Document 1 Filed eee’ Page 5 of 9

COUNT I: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT .
17. Plaintiff reincorporates by reference all of the preceding paragraphs.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:
A. Declaratory judgment that Defendant’s conduct

violated the FDCPA;

B. Actual damages;

C Statutory damages;

D. — Costs and reasonable attorney’s fees; and,
E

For such other and further relief as may be just and proper.

COUNT II: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

18. Plaintiff reincorporates by reference all of the preceding paragraphs.
19. To the extent that Defendant’s actions, counted above, violated the
RFDCPA, those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:

A. Declaratory judgment that Defendant’s conduct
violated the RFDCPA;
B. Actual damages;

C. Statutory damages for willful and negligent violations;

Complaint -5 .

 

 
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D. Costs and reasonable attorney’s fees,

E. — For such other and further relief as may be just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 19"" day of August, 2010.

py: LY

TODD M. FRIEDMAN (216752)

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FRIEDMAN, P.C.

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Attorney for Plaintiff

Complaint -6

 

 

 
 

 

-~»s Case 3:10-cv-01765-W

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CIVILCOVERSHEET ©

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings D
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for ¢

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
‘OGER JORDAN

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the civil docket sheet.

 

 

DEFENDANTS

LAW OFFICES OF M

"US. DISTRICT COURT

N DISTRICT OF CALIFORNIA
8 DEPUTY

 

 

County of Residence of First L éd
(IN UB! PLAIN IFF CASES ONLY)
NOTE:* IN LAND CONDERINATION™ CASES, USE THE LOCATION OF THE
.' LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff _ San Diego

(EXCEPT IN U.S. PLAINTIFF CASES)

Attorneys (If Known)

10CV. 1765 woH

(¢) Attorney’s (Firm Name, Address, and Telephone Number)

aw Offices of Todd M. Friedman, P.C.
69 S. Doheny Dr., #415, Beverly Hills, CA 90211

 

AJB

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES lace an “xX” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O1 US. Government P13 Federal Question “a PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State * \ 01 O 1 Incorporated or Principal Place o4 04 .
. of Business In This State mo ,
O 2° US. Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os 85
Defendant (Indicate Citizenship of Parties in Item ITI) of Business in Another State
Citizen or Subject of a O 3 O 3. Foreign Nation 06 O86
Foreign Country

 

 

 

  

 

      

 

 

 

 

 

 

 

 

 

 

 

 

IV. NATURE OF SUIT Place an ae in nOne Box Only)
5 CONTRACT is z ‘TORTS J sRFORFEITURE/PENALTY. BANKRUPTCY ="

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O 120 Marine O 310 Airplane O 362 Personal Injury - 620 Other Food & Drug O 423 Withdrawal 0 410 Antitrust
1 130 Miller Act O 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure 28 USC 157 © 430 Banks and Banking
0 140 Negotiable Instrument Liability O 365 Personal Injury - of Property 21 USC 881 0 450 Commerce
0 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability 630 Liquor Laws hae , 240) 460 Deportation

& Enforcement of Judgment Slander © 368 Asbestos Personal 0 640 R.R. & Trick O 820 Copyrights O 470 Racketeer Influenced and
0 151 Medicare Act © 330 Federal Employers’ Injury Product 0 650 Airline Regs, 0 830 Patent Corrupt Organizations
© 152 Recovery of Defaulted Liability Liability 0 660 Occupational 840 Trademark’ O 480 Consumer Credit

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(1 160 Stockholders’ Suits © 355 Motor Vehicle Property Damage Act © 862 Black Lung (923) © 875 Customer Challenge
0 190 Other Contract Product Liability O 385 Property Damage © 720 Labor/Mgmt. Relations [© 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability ]0 360 Other Personal Product Liability 0 730 Labor/Mgmt.Reporting O 864 SSID Title XVI f 890 Other Statutory Actions
©} 196 Franchise _ Injury _ __ & Disclosure Act O 865 RSI (405 O 891 Agricultural Acts
L2=_REAL PROPERTY CIVIL'RIGHTS | PRISONER PETITIONS :]0 740 Railway Labor Act _ FEDERAL. TAX'SUITS —:-]0) 892 Economic Stabilization Act
O 210 Land Condemnation OF 441 Voting CO $10 Motions to Vacate [0 790 Other Labor Litigation © 870 Taxes (U.S. Plaintiff © 893 Environmental Matters
O 220 Foreclosure © 442 Employment Sentence © 79) Empl. Ret. Inc. or Defendant) OG 894 Energy Allocation Act
O 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party O 895 Freedom of Information
© 240 Torts to Land Accommodations 530 General 26 USC 7609 Act
O 245 Tort Product Liability OO 444 Welfare C535 Death Penalty = TMMIGRATION OQ 900Appeat of Fee Determinatior
© 290 All Other Real Property |0 445 Amer. w/Disabilities- | $40 Mandamus & Other [0 462 Naturalization Application Under Equal Access

Employment OO 550 Civil Rights O 463 Habeas Corpus - to Justice
446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee O 950 Constitutionality of +
Other © 465 Other Immigration State Statutes
O 440 Other Civil Rights Actions

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only) Appeal to District
6&1 Original, CO) 2 Removed from O 3  Remanded from O 4 Reinstatedor OF 5 Transferred from 06 Multidistrict OO 7 wu Be from
Proceeding State Court Appellate Court Reopened (specify) istric Litigation Judement™

 

Cite t . Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
PEGE feds y B ( i 9)

 

VI. CAUSE OF ACTION

Brief description of cause
Violation of the Fair Debt Collection Practices Act

(© CHECK IF THIS IS A CLASS ACTION DEMAND $

 

 

VII, REQUESTED IN CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: OYes ONo
VII. RELATEDCASE(S) — |
IF ANY (See instructions): UingE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD

08/19/2010
FOR OFFICE USE ONLY J.

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RECEIPT # (72. @ ( AMOUNT qt 4 5 oO gf 4/ 3 eG IFP JUDGE MAG. JUDGE

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JS 44 Keverse (Rev. 12/07)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

Il. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Tlf. —_ Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers. .

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes

unless diversity. Example: US. Civil Statute: 47 USC 553
Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIE. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

 

 
 

Case 3:10-cv-01765-WQH-AJB Document1 Filed 08/23/10 PagelD.9 Page 9 of 9

Court Name: USDC California Southern
Division: 3
Raceipt Number: CAS017261

‘Cashier ID: bhartman

: Transaction Date: 08/24/2010

‘Payer Nama: LAW OFFICE OF TODD M FRIEDMAN

 

|
| CIVIL FILING FEE
| For: JORDAN V MITCHELL KAY LAW OFFC '
' Case/Party: D-CAS-3-10-CV-001765-001

Amount : $350 .00

 

. CHECK
Check/Money Order Num: 2055
Amt Tendered: $350.00

 

' Total Due: $350 .00
Total Tendered: $350.00
Change Amt: $0.00

There will be a fee of $45.00
Charged for any returned check.

 

 
